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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

WARNER VALLEY FARM, LLC,                        No. 4:21-CV-01079

             Plaintiff,                         (Chief Judge Brann)

       v.

SWN PRODUCTION COMPANY,
LLC,
        Defendant,

             and

REPSOL OIL & GAS USA, LLC,

       Intervenor-Defendant


                                   ORDER

                               MARCH 1, 2023

      In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that Plaintiff Warner Valley Farm, LLC’s motion for

reconsideration, Doc. 70, is DENIED. A new case management order will be issued

by separate order.

                                          BY THE COURT:


                                          s/ Matthew W. Brann
                                          Matthew W. Brann
                                          Chief United States District Judge
